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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

Criminal No . /7@]1 371//,'4,5»'6

CONSENT TO RULE 11 PLEA IN A
FELONY CASE BEFORE UNITED
STATES MAGISTRATE JUDGE

UNITED STATES OF AMERICA,
Plaintiff,
v.

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Defendant.

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I have been advised by my attorney and by the United States

Magistrate Judge of my right to enter my plea in this case before
a United States District Judge. l hereby declare my intention to
enter a plea of guilty in the above case, and l request and
consent to have my plea taken by a United States Magistrate Judge
pursuant to Rule ll Of the Federal Rules of Criminal Procedure.

I understand that if my plea of guilty is taken by the
United States Magistrate Judge, and the Magistrate Judge
recommends that the plea be accepted, the assigned United States
District Judge will then decide whether to accept or reject any
plea agreement l may have with the United States and will
adjudicate guilt and impose sentence.

l further understand that any objections to the Magistrate

 

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Case 3:17-cr-03741-AJ(BU Document 21 Filed 11/21/17 P€Ergs|D.l?l Page 2 of 2
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Judge's findings and recommendation must be filed within 14 days

of the entry of my guilty plea.

Dated: \\!\cil F},

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Defendant

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Attorney for Defendant

The United States Attorney consents to have the plea in this

case taken by a United States Magistrate Judge pursuant to

Criminal Local Rule ll.l.

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Assistant United Stat Attorney

 

 

 

